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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SUPERSEDING INDICTMENT
V. S1 24 Cr. 524 (JLR)
KEITH TAYLOR,
Defendant.
COUNT ONE
(Wire Fraud)
The Grand Jury charges:
1. From at least in or about 2015 through at least in or about 2024, in the Southern

District of New York and elsewhere, KEITH TAYLOR, the defendant, knowingly having devised
and intending to devise a scheme and artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and promises, transmitted and caused to
be transmitted by means of wire, radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing such scheme
and artifice, to wit, TAYLOR, while acting as president of a non-profit organization (the
“Charity”’) located in Manhattan, New York, embezzled hundreds of thousands of dollars from the
Charity, which TAYLOR used for his own personal expenses, including to pay for upscale meals,
high-end electronics, medical expenses, and a luxury apartment, and defrauded its donors,
including by making false and misleading statements to donors, including on the Charity’s website,
regarding, among other things, the Charity’s income and expenses, the composition and role of the
Charity’s board of directors, that the Charity was registered, that the Charity complied with state

and federal rules and regulations, and the accuracy of the Internal Revenue Service (“IRS”) Forms
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990 for the Charity.

(Title 18, United States Code, Sections 1343 and 2.)

COUNT TWO
(Aggravated Identity Theft)

The Grand Jury further charges:

2. From at least in or about 2015 through at least in or about 2024, in the Southern
District of New York and elsewhere, KEITH TAYLOR, the defendant, knowingly transferred,
possessed, and used, without lawful authority, a means of identification of another person, during
and in relation to a felony violation enumerated in Title 18, United States Code, Section 1028A(c),
to wit, TAYLOR used the names of other persons (the “Victims”), including by falsely identifying
the Victims on the Charity’s website and IRS Forms 990 as being members of a purported board
of directors for Charity, and representing that those individuals had reviewed and approved
TAYLOR’s salary, during and in relation to the wire fraud violation charged in Count One of this
Indictment.

(Title 18, United States Code, Sections 1028A(a)(1),
1028A(b), and 2.)

COUNTS THREE THROUGH EIGHT
(Tax Evasion)

The Grand Jury further charges:

3. From on or about January | of each of the calendar years specified below, through
on or about the date of the IRS deadline to file returns for that calendar year, in the Southern
District of New York and elsewhere, KEITH TAYLOR, the defendant, willfully and knowingly
attempted to evade and defeat a substantial part of the income tax due and owing by TAYLOR to
the United States of America for the calendar years specified below, by various means, including,

among others: (a) using business accounts to pay personal expenses; (b) failing to file with the IRS
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Forms 1040, U.S. Individual Tax Returns, for the calendar years below on or about the dates
required by law; and (c) failing to report taxable income to the IRS, upon which taxable income,

as TAYLOR knew, there was a substantial amount of tax due and owing to the United States of

America:

Count Calendar Year
3 2017
4 2018
5 2019
6 2020
7 2021
8 2022

(Title 26, United States Code, Section 7201; and
Title 18, United States Code, Section 2.)
FORFEITURE ALLEGATION
4. As a result of committing the offense alleged in Count One of this Indictment,

KEITH TAYLOR, the defendant, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 981(a)(1)(C), and Title 28 United States Code, Section 2461(c), any and all
property, real and personal, that constitutes or is derived from proceeds traceable to the
commission of said offense, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of said offense.
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ubstitute Assets Provision

5. If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided without

difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.
(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

MM thse Fedele
PERSON MATTHEW PODOL

Acting United States Attorney

